Case 9:22-cr-80173-AMC Document 223 Entered on FLSD Docket 10/24/2023 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-80173-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  WILLIAM SPEARMAN,

         Defendant.
                                           /

                          UNOPPOSED MOTION TO CONTINUE
                              SENTENCING HEARING

         COMES NOW, the Defendant, WILLIAM SPEARMAN, by and through the

  undersigned counsel, and requests this Court continue the sentencing hearing

  currently scheduled for October 25, 2023. As grounds, he states:

        1. The Court scheduled this matter for a sentencing hearing on October 25, 2023

           at 9:30 a.m.

        2. On October 24, this Court’s courtroom deputy advised the parties Mr.

           Spearman, who is in custody, has been admitted to the hospital and will not

           be available for sentencing on October 25.

        3. Accordingly, the parties request sentencing be rescheduled for December 13,

           2023.

        4. AUSA Greg Schiller has advised the government does not object to this

           request.




                                               1
Case 9:22-cr-80173-AMC Document 223 Entered on FLSD Docket 10/24/2023 Page 2 of 3




        WHEREFORE Defendant respectfully requests the Court to grant the above-

  styled motion.

                                     Respectfully submitted,

                                     MICHAEL CARUSO
                                     FEDERAL PUBLIC DEFENDER

                                     s/ Scott Berry
                                     Scott Berry
                                     Assistant Federal Public Defender
                                     Attorney for the Defendant
                                     Florida Bar No. 0525561
                                     250 South Australian Avenue, Suite 400
                                     West Palm Beach, Florida 33401
                                     (561) 833-6288 - Telephone
                                     Scott_Berry@FD.org




                                        2
Case 9:22-cr-80173-AMC Document 223 Entered on FLSD Docket 10/24/2023 Page 3 of 3




                             CERTIFICATE OF SERVICE

        I HEREBY certify that on October 24, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  on the attached Service List in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                          By: s/Scott Berry
                                              Scott Berry




                                            3
